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AEllis D'Artisan
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                                                                         FILED
                            UNITED STATES DISTRICT COURT             I   Jan 03 2024      I
                                                                   CLERK, U.S. DISTRICT COURT
                                                                SOUTHERN DISTRICT OF CALIFORNIA
                                                                BY     s/ RodrigoContreras DEPUTY
                      SOUTHERN DISTRICT OF CALIFORNIA


                                     SANDIEGO



AELLIS D' ARTISAN,                        Case No.:
                                                      '24CV0017 JO DEB
               Plaintiff,
vs.
                                          VERIFIED COMPLAINT
KELLI MARIE CONNOR DBA KELLI
MARIE PHOTOGRAPHY DBA
                                          A-G:LIBEL
BOUDOIR BY KELLI, JILL LEUER,
                                           H: CONSPIRACY
ALICIA MILLER, ERIC MILLER,
JEFFREY BENNION, SARA
                                           r: FEDERAL FALSE
                                          ADVERTISING AND UNFAIR
PASTRANO,THERESASTRATTON
                                          COMPETITION
GARRETT, JOHN DOE(s) 1- 100, JANE
                                           1: VIOLATION OF CALIFORNIA
DOE(s) 1-100,
                                          UNFAIR COMPETITION LAW
               Defendants.
                                               JURY TRIAL DEMANDED
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                                                    PARTIES


       I.         Plaintiff AEllis D'Artisan I is a well recognized individual photographer
    and artist with international publications and sales who operated a nationally
    recognized brand name of "Seaside Boudoir" out of southern California, in pursuit
    of his constitutionally guaranteed right to the pursuit of happiness including the
    rights to be safe and secure in his person, property, and lawful commerce activities
    to develop, extend, and further his property interests.
      II.         Defendant Kelli Marie Connor is an individual and purported
    photographer who has registered trade names of Kelli Marie Photography and
    Boudoir by Kelli, believed to be a dba of Kelli Marie Photography, in the state of
    New Hampshire, with multiple stated business addresses including 250
    Commercial Road #3020 of Manchester, New Hampshire.
     Ill.         Defendant Jill Leuer is an individual purported photographer and
    resident of Tonawanda, New York, with a principal stated business address of
     1333 Strad Ave, N. Tonawanda, New York.
     IV.          Defendant Alicia Miller is an individual purported photographer and
    former resident of Copperas Cove, Texas at time of initial commission, now with a
    self declared domicile of Camp Atterbury, Indiana.
      V.          Defendant Eric Miller is the individual purported husband and active
    duty armed service member of purported photographer and defendant Alicia
    Miller, a former resident of Copperas Cove, Texas at time of initial commission,
    now with a declared duty assignment & domicile of Camp Atterbury, Indiana.




                  1 better known in business and creative ci rcles & formally recogni zed by CA state in 2021

administrative proceedings by the a.k. a. AEllis Obtenebrix, which aka plaintiff used in all public activities.
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    VI.          Defendant Jeffrey Bennion aka Jeff Bennion aka Jeffrey Mark Bennion
    aka Jeff B Photography is an individual purported to be a photographer and
    resident of Santee, California, with a principal stated business address of 7960
    Silverton Ave, Unit 125 , San Diego , CA.
   VII.          Defendant Sara Pastrano is an individual who claims to be a
    photographer with a self reported business address of 135 E Florida Ave, Hemet,
    California 92543 with self reported business interests in the state of Georgia and
    dealings with codefendant Jeffrey Bennion.
  VIII.          Defendant Theresa Stratton Garrett is an individual and self reported
    resident of Oceanside, California claiming to be a photographer.
    IX.          Defendant(s) John Doe(s) 1-100 & or Jane Doe(s) 1-100 are one or more
    additional yet unidentified private individual(s) or businesses of unknown
    location(s), acting in concert with one or more other named defendant(s) identified
    above towards the same goal(s) who have engaged in the same or parallel unlawful
    activities whose role(s) cannot be fully credited absent further discovery. 2




                    2 Defendant Jeffrey Bennion has published that there are at least eighty eight more participants in
the activities cited against him in this complaint and more whose identities have not yet been disclosed which are
known to include characters of such disrepute as "Dinosaur Man Photography" Nick, "Reina Alissa," both of whom
have supported Jeff Bennion's protection of a confirmed sexual predator, & codefendants Sara Pastrano & Theresa
Garrett, whose behavior appears to have been incited in part by this Court's November 2, 2023 Order as misreported
to the m by Jeffrey Bennion, encouraging & inciting their subsequent lawless activities.
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                                                  JURISDICTION


     X.          This court holds jurisdiction based on: diversity of citizenship of the
    parties in suit3; the fact that the related events pertain to interstate commerce;
    violation of the Lanham Act; 28 USC 1332; and 28 USC 1367 to hear otherwise
    state claims included herein due in part to being part of the ongoing misconduct.




                    3 None of the original parties taking the actions that initiated this complaint were present or
resident in California. Kelli Connor had and maintained business ties & commerce with individual photographers as
well as speaking at and attending photographer conventions and events in California, including defendant Jeffrey
Bennion, who appears to be an associate and protege of Kelli Connor. In combination with her placing a "bounty"
against plaintiff, California defendants came to be added to this action for subsequent involvement derived from
Connor' s initial misconduct and unending campaigns of libel against plaintiff. Connor seems to think she can have
other people continue to wage her shadow war against plaintiff and escape responsibility when in fact all events
named in this comp laint trace their original causation and initiation to Kelli Marie Connor acts in New Hampshire.
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                                                COMPLAINT


   XI.           Plaintiff hereby brings action for damages in equity against named
   defendants for the following violations of law, some of which originated as far
   back as 2021 but in all noted instances continue uninterrnpted today with active
   and current ongoing original and derivative acts by the named defendants.
         A.      LIBEL: Beginning in 2021 with continuing publication4 KELLI MARIE
   CONNOR harmed AELLIS D'ARTISAN by making one or more of the following
   false and unprivileged statement(s):
              1. "' Aellis' aka 'Seaside Boudoir' aka 'Art by AEllis' has been
                 STEALING from me consistently, across all of his platforms";
              2. "Many of the images he displays on this site, his website, and social
                 medias are MY IMAGES that I retain legal copyright to and never gave
                 him permission to use or share for his own financial gain";
              3. "I am taking legal action against him as well";
              4. " ... he [AEllis D'Artisan] uses them [Kelli Marie Connor' s images] to
                 lure underage girls";
              5. Claiming Kelli Connor is a dissatisfied former customer of plaintiff's,
                 when she has never had any business relationship with plaintiff;
         and that KELLI MARIE CONNOR published one or more of these
   statement(s) in writing to one or more persons other than AELLIS D'ARTISAN;
    that these people reasonably understood that the statement(s) was/were about
    AELLIS D'ARTISAN; that these people reasonably understood these statement(s)
    to mean that AELLIS D'ARTISAN had committed one or more criminal acts
    related to his professional boudoir photography practice and or violated accepted

            4 Publications on a t least yelp.com and bark.com verified January 2, 2024.

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   professional ethics and practices common to his peer photographers in his use of
   related photographic images; and that as a result AELLIS D'ARTISAN was
   humiliated and shunned by a number of persons, that this harm was exacerbated to
   an egregious degree by and thru Kelli Marie Connor's use of one or more other
   person(s) agency to continue and expand widespread publication of her false
   statement(s) and or variations of these false statement(s) and where one or more
   of: Alicia Miller, Ang, Austin Snider, Christine LaMore, David Jones, Eric Miller,
   Jessica Ketter, Jill Leuer, Joe Dial, Laura Keaton, Sebastian Guillory, Theodore
   Sheldon, Jeffrey Bennion, Sara Pastrano, Theresa Stratton Garrett or other
   individuals have complied with Kelli Marie Connor's urges and requests for
   agency by themselves publishing additional false written statement(s) against
   AEllis D'Artisan; by the continued publication of one or more false statement(s);
   all of which have resulted in continuing deliberate commercial and professional
   damages to AEllis D'Artisan that include: loss of opportunity, loss of commerce,
   loss of revenue, and loss of reputation as well as resulting ongoing mental anguish,
   emotional distress, and perpetual injury to his reputation and business endeavors
   that have further deprived him of revenue and prospects.
       B.      LIBEL: AELLIS D' ARTISAN claims he was harmed by ALICIA
   MILLER by her past and current publication of one or more false and unprivileged
   statement(s) that:
            1. AEllis D' Artisan stole one or more of her images and published them on
               his website;
            2. Alicia Miller is a dissatisfied former customer of plaintiff' s, when she
               has never had any business relationship with plaintiff;
            3. "this creep stole an image from my Instagram and posted it on his
               website";
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           4. "there are about 20 of us in the Boudoir industry who he is harassing";
           5. "stealing our content";
           6. "threats he has sent these women";
      and that ALICIA MILLER published one or more of these statement(s) in
   writing to one or more persons other than AELLIS D'ARTISAN; that these people
   reasonably understood that the statement(s) was/were about AELLIS
   D'ARTISAN; that these people reasonably understood these statement(s) to mean
   that AELLIS D'ARTISAN had committed one or more criminal acts related to his
   professional photography practice and or violated accepted professional practices
   common to his peer photographers in his use of related photographic images; and
   that as a result AELLIS D'ARTISAN was humiliated and shunned by other(s).
      C.      LIBEL: AELLIS D' ARTISAN claims he was harmed by ERIC
   MILLER by his past and current publication of one or more false and unprivileged
   statement(s) that:
           1. AEllis D' Artisan stole "renowned photographers work";
           2. Eric Miller is a dissatisfied former customer of plaintiff's, when he has
              never had any business relationship with plaintiff;
      and that ERIC MILLER published one or more of these statement(s) in writing
   to one or more persons other than AELLIS D'ARTISAN; that these people
   reasonably understood that the statement(s) was/were about AELLIS
   D'ARTISAN; that these people reasonably understood these statement(s) to mean
   that AELLIS D'ARTISAN had committed one or more criminal acts related to his
   professional photography practice and or violated accepted professional practices
   common to his peer photographers in his use of related photographic images; and
   that as a result AELLIS D'ARTISAN was humiliated and shunned by other(s).


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       D.      LIBEL: AELLIS D' ARTISAN claims he was harmed jointly & or
   severally by JILL LEUER by her past and or current publication of one or more
   false and unprivileged statement(s) that:
            1. imply AEllis D' Artisan is stealing nude images;
            2. imply AEllis D' Artisan is selling nude images without permission;
       and that JILL LEUER published one or more of these statement(s) in writing to
   one or more persons other than AELLIS D'ARTISAN; that these people
   reasonably understood that the statement(s) was/were about AELLIS
   D'ARTISAN; that these people reasonably understood these statement(s) to mean
   that AELLIS D'ARTISAN had committed one or more criminal acts related to his
   professional photography practice and or violated accepted professional practices
   common to his peer photographers in his use of related photographic images; and
   that as a result AELLIS D'ARTISAN was internationally humiliated and shunned
   by other(s). 5
       E.      LIBEL: JEFFREY BENNION harmed AELLIS D'ARTISAN by his
   past and current publishing one or more of the following false and unprivileged
   statement(s), which continue since discovered September 20, 2023 6 :
            1. 'most of his pictures on his website and his Yelp are stolen";
            2. "He even steals several images of this gothic fairy from @emackelder
               . . ." .'
            3. Incorrectly identify AEllis D' Artisan: "his real name is Lachlan
               Rotschrek aka Ellis Templar";




               5 Statements produced by a photographer associate of plaintiff's in Australia.
               6 Verified cont inued publications on at least instagram.com November 27, 2023.
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             4. "he has been kicked out of every large Facebook Boudoir Group [... ] Jen
                 Smith"7 ;
             5. "okay here is the truth about lachlan Rotschrek aka Ellis Templar aka
                 AEllis Obtenebrix aka seaside boudoir aka enchanted realm boudoir. He
                 is a the if [sic] and a criminal";
             6. Explicitly implicate AEllis D' Artisan in a nonexistent "murder" of
                 Heather LaBounty in San Diego on November 10, 2023;
        and that JEFFREY BENNION published one or more of these statement(s) in
    writing to one or more persons other than AELLIS D'ARTISAN; that these people
    reasonably understood that the statement(s) was/were about AELLIS
    D'ARTISAN; that these people reasonably understood these statement(s) to mean
    that AELLIS D'ARTISAN had committed one or more criminal acts related to his
    professional photography practice and or violated accepted professional ethics and
    practices in his use of related photographic images; and that as a result AELLIS
    D'ARTISAN was humiliated and shunned by a number of other persons; that this
    harm was egregious and exacerbated by and thru JEFFREY BENNION' s use of
    one or more other person(s) agency where JEFFREY BENNION encouraged and
    urged other persons in writing to repeat these false statement(s) and or variations
    of one or more of these false statement(s) and where one or more other individuals
    have complied with Jeffrey Bennion' s urgings and request for agency on his behalf
    as originally begun by his publishing false written statement(s) against AEllis
    D'Artisan; all of which direct and indirect acts of libel and harassment have
    resulted in intentional commercial and professional damages to AEllis D'Artisan


                  7 In addition to this outright falsehood, the unquoted parts of this publication omit a key element

and fact: these very same events are proof conclusive of the harm stated in the first count of libel against Kelli Marie
Connor. It was her actions as set forth in that count that caused his 'kicked out' as to the other named parties in this
false publication and act of libel by Jeffrey Bennion. This action intends to address only the total outright lie.
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    therefrom that include: loss of opportunity, loss of commerce, loss of revenue, and
    loss of reputation as well as resulting ongoing mental anguish, emotional distress,
    and perpetual injury to his reputation and business endeavors that have deprived
    him further of revenue and prospects; aggravated by Jeffrey Bennion' s deliberate
    persistence in continuing these publications and encouraging others to promote and
    publish the same themselves following formal notice and warning by both AEllis
    D' Artisan and sitting judge(s) 8 that Jeffrey Bennion's noted behavior was unlawful
    and actionable.
        F.       LIBEL: AELLIS D' ARTISAN claims he was harmed jointly & or
    severally by SARA PASTRANO beginning on or before November 7, 2023 in
    continuation by her past and or current publication on Instagram.com of one or
    more of the following false and unprivileged statement(s), originally published by
    Jeffrey Bennion on instagram.com, which continue since discovered:
             1. Incorrectly identify AEllis D' Artisan;
             2. Explicitly implicate AEllis D' Artisan in a nonexistent "murder" of
                 Heather LaBounty in San Diego on November 10, 2023;
             3. Claims AEllis D' Artisan "stole" photographs posted on "his" Yelp and
                 website;
             4. "He even steals several images of this gothic fairy from @emackelder
                    "
        and that SARA PASTRANO published one or more of these statement(s) in
    writing to one or more persons other than AELLIS D'ARTISAN; that these people
    reasonably understood that the statement(s) was/were about AELLIS
    D'ARTISAN; that these people reasonably understood these statement(s) to mean
    that AELLIS D'ARTISAN had committed one or more criminal acts related to his

            8 stated in person to Jeffrey Bennion October l l, 2023 by a sitting state judge from the bench .
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    professional photography practice and or violated accepted professional practices
    in his use of related photographic images; and that as a result AELLIS
    D'ARTISAN was humiliated and shunned by other(s).
       G.     LIBEL: AELLIS D' ARTISAN claims he was harmed by THERESA
    STRATTON GARRETT on November 7, 2023 by her past and or current
    publication on lnstagram.com of the false and unprivileged statement that AEllis
    stole from her, when she stated "he took one of my images as well," despite the
    fact there was never any interaction between her & plaintiff before this published
    false statement and plaintiff was unaware of her very existence prior to that same
    deliberate false statement, and that TEHRESA STRATTON GARRETT published
    this statement in writing to one or more persons other than AELLIS D'ARTISAN;
    that these people reasonably understood that the statement(s) was/were about
    AELLIS D'ARTISAN; that these people reasonably understood these statement(s)
    to mean that AELLIS D'ARTISAN had committed one or more criminal acts
    related to his professional photography practice and or violated accepted
    professional practices in his use of related photographic images; and that as a
    result AELLIS D'ARTISAN was humiliated and shunned by other(s).
        H.     CONSPIRACY: AELLIS D'ARTISAN claims he was harmed jointly &
    or severally by KELLI MARIE CONNOR, JILL LEUER, ALICIA MILLER,
    ERIC MILLER, JEFFREY BENNION, SARA PASTRANO, THERESA
    STRATTON GARRETT, and other's acts of libel and that one or more of: KELLI
    MARIE CONNOR, JILL LEDER, ALICIA MILLER, ERIC MILLER, JEFFREY
    BENNION, SARA PASTRANO, THERESA STRATTON GARRETT, & others,
    are responsible for the harm because they are or were part of a conspiracy to
    commit libel against AELLIS D'ARTISAN with the intent of depriving him of
    future business and opportunities as a photographer as openly declared in
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   publications by parties named above, and one or more of the named defendants in
   this declared conspiracy published one or more deliberate false and unprivileged
   statements to advance this conspiracy and its stated goal(s).
      I.     FEDERAL FALSE ADVERTISING AND UNFAIR
   COMPETITION: (LANHAM ACT§ 43(A)(l)(B), 15 U.S.C. § l 125(A)(l)(B)):
   KELLI MARIE CONNOR, JILL LEUER, ALICIA MILLER, ERIC MILLER,
   JEFFREY BENNION, SARA PASTRANO, THERESA STRATTON GARRETT,
   & others acting in concert with or at their request and urging, have published
   deliberate false and misleading representations concerning plaintiff AEllis'
   personal and professional activities in commerce on Facebook, Instagram, Google,
   Yelp and other informational platforms accessible by the public, which platforms'
   exclusive use is the commercial advertising and promotion of AEllis D'Artisan's
   photographic services, namely one or more of the following statements:
       1.     AEllis D'Artisan "stealing" photographs or images from defendant
   Connor and or other photographers;
       2.     Inducement of underage women by AEllis D' Artisan;
       3.     Explicit implication of AEllis D' Artisan in a nonexistent " murder," that
   of Heather LaBounty on November 10, 2023;
       4.     Additional other false claims as to plaintiff's business practices;
       and defendants' false claims related to AEllis D'Artisan's professional
       photography conduct and practices related to defendant(s)' s self promotion and
       which same public advertisements have deceived and are very likely to deceive
       consumers regarding plaintiff's professional services and cause them to avoid
       patronage of plaintiff's professional practices, these defamatory statements
       were and are now published and disseminated in interstate commerce via
       commercial internet publication(s) used for public advertisement, are clear and
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         apparent were intended for defamatory effect, and have and continue to harm
         plaintiff's ability to retain and expand his professional audience and clientele.
         J.       VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW:
    Defendants KELLI MARIE CONNOR, JILL LEDER, ALICIA MILLER, ERIC
    MILLER, JEFFREY BENNION, SARA PASTRANO, THERESA STRATTON
     GARRETT, & others, violated Cal. Bus. & Prof. Code§ 17200 ("UCL") 9 which
     prohibits "any unlawful, unfair or fraudulent business act or practice and unfair,
     deceptive, untrue or misleading advertising and any act prohibited" when
     Defendants published as nominal peer(s) and competitor practice(s):
          1.       that plaintiff "stole" images from Kelli Marie Connor and others;
          2.       enticed potential consumers and their related parties to publish false
     statements and negative reviews against Seaside Boudoir without ever having
     interacted or patroned either AEllis D'Artisan or Seaside Boudoir;
          3.       alleged that AELLIS D'ARTISAN induced adult activities with underage
     women thru the course of creating, developing, or using these images & his related
     photographic business activities;
            4.     Implicated AEllis D' Artisan as a participant in a nonexistent "murder,"
     that of Heather LaBounty on November 10, 2023;
     and these same false published statements did deter and discourage other adults
     from communicating with, patroning, or lawfully transacting with plaintiff,
     causing economic loss to plaintiff.
     XII.          Defendants ' actions have persisted since August 2021 or earlier and
     continue without cessation today with numerous false written publications
     including those above against AEllis D'Artisan by defendants with multiple

                   9 Noted separately twice by stale court judges, o nce direct to codefendant Jeffrey Be nnion who has
 not ceased or altered hi s mi sin fo rmation and deliberate fa lse publications since being so reprimanded October 11 ,
 2023 ..
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   published false statements verified active, published and displayed by defendants
   as recent as November 27, 2023 on multiple websites.
  XIII.       Despite numerous demands to cease and desist to the named defendants
   and their agent(s), defendant(s) have instead escalated and diversified their
   deliberate public false statements against plaintiff, his brand, and his reputation,
   while continuing to themselves operate as competitive peers, several of whom
   daily boast their own advertised unlawful corporate policies and practices (e.g.
   Connor's & others' deliberate unlawful gender discrimination), and with continual
   violations of the required and mandatory terms of service of the publishing
   platforms on which they publish these acts of libel.
  XIV.        Kelli Marie Connor, contrary to her false statement, has never initiated
   any legal action(s) whatsoever towards AEllis D Artisan or Seaside Boudoir,
                                                      1



   including but not limited to any cease and desist or public takedown request.
   XV.        Kelli Marie Connor, Jeffrey Bennion, Sara Pastrano, Theresa Stratton
   Garrett, and others have however received a cease and desist notice from plaintiff
   in an attempt to avoid necessity of a suit in equity. Rather than keep the peace or
   admit error, every single party given notice not only continues the unlawful
   activities cited herein but has 'doubled down' in their unlawful efforts to harass
   and oppress plaintiff as well as recruit others to assist them in publishing and
   promoting their unlawful efforts, even after a sitting judge in session, the second
   judge to so state, noted that Jeffrey Bennion's activities were unlawful and likely
   violated at least California's Unfair Competition Law and suit should be filed for
   their harassment(s) and misconduct.
  XVI.        Defendants' acts of libel include but are not limited to deliberate false
   statements with malicious intent published on Google, Yelp, & Meta 10 platforms

              10   combined Facebook & Instagram brands.
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   first in both public and semi-public published personal and business pages, peer
   photography groups dedicated to boudoir photography and related professional
   concerns including at least one peer group dedicated more generally to efficiency
   and creativity in studio spaces unrelated to boudoir, all of which peer groups
   expelled and banned AEllis D'Artisan upon the personal urging and demands of
   Kelli Marie Connor, which same pattern of behavior was adopted soon thereafter
   by Jeffrey Bennion who has replicated and continues this activity to spread these
   false statements far and wide in the broader photography community such that they
   are now widely known in San Diego and have cost plaintiff paid work and
   employment. These undisputed public statements by defendants are explicit acts of
   libel are in no way protected forms of speech. They are instead known false
   statements delivered and published with malicious, hateful, dedicated, and
   determined unlawful intent to incite hatred and or violence towards the plaintiff.
   These statements epitomize the rash of unlawful and unreasoning "cancel culture"
   mob attacks that have swept the nation in recent years in response to and spurred
   by recent leftist attacks on society and our national dialogues.
 XVII.        Defendants herein have conspired with intent to deprive plaintiff of any
   opportunity to conduct photographic business or generate revenue, at first within
   the boudoir niche of portrait photography, now at present in any photographic
   forum involving people, and by their own declaration(s) intended to force him out
   of business, which intent and actions are indisputable, contrary to law, and one or
   more defendant(s) have acted to further this declared conspiracy as witnessed by
   such well renowned industry figures as Alayna Marr, Sue Bryce, & Michael
   Sasser, among others available to testify against defendants.
 XVIII.       One or more agents of defendants, including one or more of: David
   Jones, Austin Snider, Laura Keaton, Ang, Theodore Sheldon. Christine LaMore,
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   have reported to plaintiff in private communication that they received promises of
   rewards and incentives from at least Kelli Marie Connor in exchange for their
   participation in these activities, for "posting a negative review" against Seaside
    Boudoir, AEllis D'Artisan boudoir photography brand, in the form of cash or
   discounts on professional photography education, services, or products with Kelli
   Marie Connor.
  XIX.          None of defendants' published false statements involve any registered or
   recognized copyrighted work by any related defendant or known party. Rather,
    each of the final edited images displayed on plaintiff AEllis D'Artisan websites
    under his control include his own work product, license, or were released into the
    public domain. It is important to note that defendants ' libel began within and
    related to the boudoir photography niche but have since been expanded to include
    plaintiff's other published photography including undisputed original work
    products of AEllis D'Artisan alone.
   XX.          These unlawful acts by defendants continue regularly today by
    defendants and or their associates including several figures who conceal their true
    identity behind false identities such as "Dino Man Nick" aka "Dinosaur Man," aka
    "Dinosaur Man Photography," "Nick" of Santee, California 11 , which take every
    opportunity to unlawfully malign, slander, stalk, harass, annoy, and oppose the
    plaintiff in any public forum, even to the point of harassing other lawful business
    owners who conducted business with the plaintiff to the point that they have in fact
    interfered and continue to interfere with plaintiff's professional and personal
    endeavors and employability.




                11 Self-published ph one #: (6 19) 647-553 1, email : dinosaur man2002@yahoo.com, per

https://www.facebook.com/Dinorvlan .Photoqraphy access ed mos t recently November 27, 2023.
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                  FACTUAL & HISTORICAL BASIS OF THIS ACTION


  XXI.        Any business must find an effective path to consumers for it to be
   successful. In recent years Google has accounted for nearly 90 percent of all
   general-search-engine queries in the United States, and almost 95 percent of
   queries on mobile devices. It is therefore by far the most successful platform for
    any business marketing effort or strategy available today and also an unavoidable
    platform, whether as a monopoly or otherwise, it has the single largest voice that
    provides any merchant an opportunity to appeal and present to consumers in any
    marketplace in the nation. Google has foreclosed competition for internet searches
    to such a degree in this country that general search engine competitors have no real
    chance to challenge Google and thereby force both merchants and consumers to
    deal with Google on Google's terms. Google is so dominant that "Google" is not
    only a noun to identify the company and the Google search engine but also a verb
    that means to search the internet. Whatever Google chooses to promote,
    promulgate, or advertise is unavoidable and cannot be concealed from the market,
    whether true or false. Facebook and Yelp' s platforms, while secondary to
    Google's, have similar market influence on public consumers. These platforms in
    effect provide no effective way to dispute their decisions on the information they
    or a registered user on their platform publishes against a person or business.
    Further, Google & Facebook choose at whim whether or not to enforce or not their
    stated and published policies, negating numerous efforts by plaintiff to have such
    false statements removed following their deliberate false publication by
    defendants.
  XXII.        Defendant Kelli Marie Connor operates a line of business in New
    Hampshire parallel to plaintiff's former brand of photography in southern
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    California, ("Seaside Boudoir"), and further claims to educate others who aspire to
    operate a similar business for themselves anywhere in the nation. Connor reports
    her studios produce "seven figure annual revenue" to attract more students who
    spend significant sums for her advice and teaching, with a document of about
    ninety pages priced $699 & others offered for thousands of dollars 12 . Kelli Marie
    Connor speaks as a guest at events in California, visits California on "working
     vacations" related to photography, and communicates on a regular basis as a
    routine course of her business with photographers in California including
    codefendant Jeffrey Bennion.
 XXIII.            AEllis began the Seaside Boudoir photography brand after consulting
    and researching a number of related peers, groups, and educators in a variety of
     photographic arts with which he was experienced. In attempting to understand the
    unique business aspects of this niche in the United States and identify a market for
    himself, plaintiff encountered Connor, who provided numerous materials,
    documents, and information gratis, for their adaptation & general use in promoting
    this business niche. These materials are themselves in the public domain as
    provided by Connor for prospective students' alteration and use, meant to tease
    and entice prospects into spending the outrageous sums she requests for tutelage.
    Plaintiff ultimately selected more compatible peers of comparable quality whom
    plaintiff deemed less predatory, less narcissistic, professional, and relatable. While
    it is possible that plaintiff may have incorporated isolated elements acquired from
    Connor at some point, any such items would already be in the public domain due
    to Connor's unrestricted public release of these same images without any reserved
    licensing restrictions, no stated or implied limitations on their use, and the

                 12 http:--://~.:llirn nn ur.pudia.cn111/posi11!!-\.!Uidc•H1pQ"_ accessed December l6, 2021, verified

November 27, 2023. Related photo shoots with Connor or her staff also cost clients several thousand dollars to
assuage Connor's unquenchable ego.
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   widespread public dissemination of these materials by Connor. At no time has
   Connor registered any image in question for copyright or restricted their use and
    plaintiff is unaware of any specific image or original template in use now or then
   that is attributable to Connor or her work product. Connor makes it clear
    throughout her advertising & indoctrination efforts that materials, methods, and
    practices she supplies to students and prospective students are for use and or
    adaptation by the student or prospect. These permissions were clear, express, and
    explicit.
 XXIV.          Photographers maintain a number of peer forums and networks whereby
    they encourage and promote their arts, knowledge, and share creative, artistic,
    technical, and business tips, strategies, and common use materials with peers as
    well as aspiring peers. These forums include several online Facebook groups.
 XXV.           In June or July 2021, plaintiff shared in one such Facebook forum a tip
    to another photographer who took an unintended offense. In addition to being
    postpartum, the reason she claimed to seek that advice, that same photographer
    was associated with defendant Connor. Immediately thereafter, defendant Connor
    began a personal "cancel culture" campaign against plaintiff across a number of
    platforms. Plaintiff no longer has access to this original exchange or many of the
    resulting actions against him within the Facebook groups due to Kelli Marie
    Connor's requests to those group moderators and administrators to ban and expel
    plaintiff from all such groups where she had a presence.
 XXVI.          Defendants(s) have stated in writing that this particular niche of
    photography is extremely sensitive to a practitioner's personal reputation.
    Defendant's acts of libel include publication of known false statements alleging
    theft of Kelli Marie Connor's photographs by plaintiff, and statements that plaintiff
    induces inappropriate contact or exchanges with underage females. In making
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    these false statements, defendants' had full knowing intent to damage and destroy
    plaintiff's reputation, credibility, and any potential trust with his local clientele and
    future prospects, even though these same clientele were likely never potential
    clients of defendants' for any similar product or service as the overwhelming
    majority of consumers find and utilize a local practitioner that they identify
    through a local search for a practitioner, most often through Google, Facebook, or
    word of mouth from associated local consumers.
XXVII.            Defendants have undertaken an ongoing & persistent campaign of
    malicious harassment, slander, and defamation against plaintiff designed and
    intended to, in defendant Connor's own words "drive [plaintiff] out of business
    forever." The resulting publications have been reported to plaintiff form as far
    away as Australia as well as all corners of the United States, from which plaintiff
    has received regular harassment and even death threats, from Eric Miller as well as
    numerous other persons incited by defendant(s).
XXVIII.           Defendant Connor personally harassed plaintiff with derogatory remarks
    and comments on several platforms: Facebook, Instagram, Yelp, Google, and
    others 13 . In her comments and remarks, defendant Connor raised a variety of
    allusory and false claims against plaintiff without an iota of proof for any claim
    made. This harassment by Connor spread from Connor's own personal harassment
    to a wave of "cancel culture" efforts as her fans & others responded out of emotion
    devoid of any reasoned analysis of Connor's false statements, often added their
    own false statements and accusations, some of which were in response to Connor's
    publishing a "bounty" reward for anyone who published a negative review against
    AEllis D'Artisan or his Seaside Boudoir business brand on Facebook, Google, or


                   13 Additional platforms routinely duplicate and repeat these public comments in the routine course

of business, thus these publications are now found in duplicate in places not originally posted by Connor herself.
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    Yelp. Thereafter a mob mentality took hold in the related photographic niche
    community that included several individuals 14 , but not within the larger
    photographic communities as a whole until the summer of 2023. Defendant
    Connor encouraged others acts of libel by repetitions of her known false published
    statements.
 XXIX.            During the summer of 2023 Jeffrey Bennon paralleled and expanded
    upon Connor's initial efforts at libel against plaintiff in the broader photographic
    community-at-large-well-beyond-the 0riginal-boudeir-niche-;-Plaintiff-has-confirmed- - - - -
     accounts of his written publication to third parties throughout southern California,
     Arizona, and Nevada due to those parties contacting plaintiff with harassment and
     threats, as well as threatening and harassing third party businesses and individuals
     engaged in commerce with AEllis D ' Artisan.
 XXX.             Jeffrey Bennion continues to publish deliberate false public statements
     about and against AEllis D' Artisan and encourage others to do the same, with
     individuals such as Sara Pastrano mimicking Bennion' s behavior as he requests in
     his malicious publications intended to further Connor's original strategy. Bennion
     has already established in court records his related communication with Connor,
     who has referred to these same communications in her declaration before this
     court, though she doesn't provide Bennion's name.
 XXXI.             On November 7, 2023, Theresa Stratton Garrett chose to 'jump on the
     bandwagon' along with several other individuals repeating Bennion's libel by
     adding her own false claim in hopes of garnering personal attention, claiming
     plaintiff had "stolen" from her as well, despite the fact there was never any
     interaction between her & plaintiff before her published false statement. When


                   14 Commented on with confirmatio n of intent in writing by private taunts from Co nnor's associate

 Jess ica Ke tter on December 19, 2021 .
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    directly messaged by plaintiff on November 7, 2023 with a request to disclose
    exactly what image plaintiff "stole" from her or retract her false statement, Theresa
    Stratton Garrett refused to respond, even after being warned she risked addition to
    the formal court action for her participation in deliberate libel.
XXXII.           When confronted by plaintiff, some parties who repeated Connor's false
    statements and claims without any personal knowledge of or contact with plaintiff
    apart from Connor's incitement reported to plaintiff that Connor had offered them
    or their spouse $50 incentives or discounts on photographic products or education
    products in return for filing a negative review or repeating her false nanative
    against plaintiff in a public review, such as on Google, Facebook, or Yelp.
    Countless individuals accepted this reported incentive and plaintiff's Facebook
    business page 15, Google Business listing 16 , Instagram account 17 , and other
    advertising platforms were flooded with false and hateful declarations which
    included widespread threats of violence, harm, and even threats against the
    plaintiffs life. The false statements were replete with repetitions of Connor's
    original false claims related to intellectual property theft and pedophilia. Behavior
    by Connor and those she influenced that rose to felony criminal levels 18 , all at the
    instigation and incitement of defendant Connor.
XXXIII.          As a result of these behaviors, plaintiff's original business platform on
    Instagram was terminated by Instagram and after several months offered to another
    photographer in the same niche who voluntarily surrendered and returned it to
    AEllis D'Artisan once becoming aware of the events related to this suit, whereupon
    AEllis D'Artisan regained access to and control of that brand asset in or about


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                 17 http-.,:/1\11111 .in-;ta 0 ram.cum/sca~idcbuudl1ir
            18 interstate communications by phone and internet included explicit death threats to plaintiff.

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     April 2022. Several other participants in this "cancel culture" campaign that
     Connor incited against plaintiff lost temporary access to their accounts for a month
     or more while Instagram researched the flood of hate messages and threats against
     plaintiff, who had blocked more than fifty unique individuals prior to Instagram' s
     own censure of these illegal activities and termination of plaintiff's account to
     quell the unrest. Connor however continued her unlawful harassment and slander
     of plaintiff with known false statements on other platforms, knowing all along that
     her statements were false, deliberate lies told by her to inflame public opinion
     against plaintiff in part based on his masculine gender and his opposition to her
     egotistical behavior, peer influence 19 , and predatory practices upon both her clients
     and peers.
XXXIV.             In response to these attacks, Plaintiff restricted unsolicited public
     comments on his Facebook page20 to minimize the effects of this harassment,
     began new Instagram accounts, and attempted to continue his business and ignore
     Connor and her efforts, after issuing written warnings to her against pursuing him
     in any venue or persisting in her personal or professional attacks, in light of the
     threats against his life made on her behalf, and in at least two instances, declared
     as being made on Connor's behalf and at her urging. Many of these written
     statements have since been lost, destroyed by Instagram when it locked plaintiff
     out of his @seasideboudoir account, eventually terminated that account, and
     transfetTed that handle to another user at Connor's instigation.



                       19 Pl a intiff has made comments to peers in private di scussion based on his interactio ns with and

 observations of Co nnor that he felt Co nnor conducted her business and encourages others to conduct business in a
 ma nner reminiscent of a sexual predator and maintains that personal opinion to this day. It is pla intiff's personal
 be lief that another party relayed one or more of these opinions back to Connor, and this may be the origin of her
 de liberate fal se allegati o ns of pedophili a.
                     ° 2 Facebook provides no m echani sm for anyo ne but the original author to remove these posts.
 Thus, they re main poste d and publi shed lo this day by defendants and their associates, a continuing act of libel.
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 XXXV.            Many of the other original comments by Connor as well as more recently
     Bennion as well as the threats from their agents remain inaccessible to plaintiff as
     they are published within Meta2 1 groups that plaintiff no longer has membership or
     access to view due to the requests by Connor that plaintiff be expelled and banned
     from those same groups and thereby denied a voice or professional participation.
     These bans also continue to this day.
 XXXVI.           Connor's harassment and knowing false statements were published and
     promoted across numerous platforms, including Google, Facebook, Instagram, and
     Yelp, all contrary to the published terms of service and policies required for her
     lawful use of each and every one of those platforms, illustrating her egregious and
     malicious intent and action against plaintiff, as does her reported "bounty" against
     plaintiff.
XXXVII.           There is no known evidence that plaintiff has ever published any other
     photographer's protected work without permission or in violation of any registered
     copyright or intellectual property law. Requests by plaintiffs to parties claiming
     otherwise to produce proof have not produced a single example to the contrary,
     only silence or abusive epithets.
XXXVIII.          Connor's harassment of plaintiff continued unabated, even after plaintiff
     added restrictions on who could comment or contact him on Instagram, Facebook,
     or Google platforms, despite knowing that these same measures must by necessity
     throttle his business prospects as he had no way to exclusively restrict or censure
     unknown antagonists incited by Connor to contact and harass him without also
     restricting possible business clients from likewise contacting him for legitimate
     economic exchanges. As a result, plaintiff suffered substantial loss of economic
     and business opportunities, as well as actual lost revenue, exacerbated by the

                  21 Face book and Instagram ' s corporate identity of which they re main branded products th ereo f.
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    necessity of plaintiff taking time away from productive efforts to stymie and
    combat the constant harassment by Connor and those associated with or recmited
    by her. Plaintiff's business has never recovered from these attacks and sufficient
    client traffic has never returned to his website or platforms since these attacks
     began and Seaside Boudoir was forced to cease operations as a brand identity early
     in 2023.
XXXIX.            Plaintiff issued a Cease and Desist notice to defendant Connor and
     Google November 18, 2021, noting plaintiff's intent to seek damages if defendant
     Connor failed to end all of her harassment and defamatory efforts against plaintiff
     and remove all of her own false posted claims against him at once as well as the
     removal of those posted by others as agents on her behalf or at her request. Connor
     instead responded two days after the notice was electronically delivered to her with
     increased threats and harassment from a number of individuals familiar to Connor,
     several of which remain posted and visible to the public on Google and Yelp
     platforms, posted from November 20th thru 23rd inclusive on those platforms 22 , all
     of which reference a false claim of "stealing" from Kelli Marie Connor and or
     others and attempting to warn prospective clients away from plaintiff's business.
     As with the direct complaints, threats, and harassment by Connor herself to the
     sustained and ongoing detriment of plaintiff and his business.
    XL.            Plaintiff first issued a Cease and Desist notice to defendant Jeffrey
     Bennion August 3, 2023, noting plaintiff's intent to seek damages if defendant
     Bennion failed to end all of his harassment and defamatory efforts against plaintiff


                        22 Including but not limited to e.g. littps://!!m1 .!.! l/maps/ 8bqtpFc\t'qPD9il76;

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 http~ ://l!nn.!.!1/ map /JCxXSl-..rnT3sp8ekZ%; htt ps://>!110 .ul/11w1 '> /h\ Rk Ux D1qqjCY11CE6; a I-star review (no
 sharable link provided) by "Sebastian Guillory," as well as by related party "Laura Keeton" on December 18, 2021,
 as well as any and all review(s) attributable to Kelli Marie Connor herself and fake appointments scheduled to
 harass plaintiff. These false statements reached the public and were acted upon as far away as Australia.
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   and remove all of his own false posted claims against him at once as well as the
   removal of those posted by others as agents on his behalf or at his request. Bennion
   instead responded with taunts to the plaintiff as well as increased threats and
   harassment from a number of Bennion's associates, several of which remain posted
   and visible to the public to the sustained and ongoing detriment of plaintiff and his
   business.
  XLI.         Sara Pastrano & Theresa Stratton Garrett responded to plaintiff's cease
   and desist demand and notice of claims issued November 2023 by blocking
   plaintiff's social media account, followed by continuing to publish their former as
   well as additional false unprivileged false statements against plaintiff.
 XLII.         Defendant Jill Leuer, an aspiring photographer who has idolized Connor
   due to Connor's purported successes herself furthered these efforts by publishing
   written posts in a number Facebook groups with photographers in them that might
   operate within the same niche as plaintiff and herself. Leuer posted statements she
   knew or had good reason to know were false within these Facebook groups,
   without realizing these posts would be forwarded to the plaintiff. Plaintiff
   thereafter researched to determine if he had ever had any contact with Jill Leuer
   and learned the only common denominator was defendant Connor, who had
   originated Leuer's false declarations as repeated by Leuer, taken as they were from
   Connor at face value without any investigation whatsoever.
 XLIII.        When confronted by plaintiff with a demand to cease and desist or face
   legal action, defendant Leuer denied all knowledge of plaintiff, who he was, or any
   prior contact with him whatsoever, the only truth she ever told any party in related
   matters. Connor, the author and instigator of this entire drama made the exact same
   statement when confronted in a public forum that her potential clients might view.
   Facebook records and images Leuer had uploaded to her personal page remove any
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    doubt as to her identity as the responsible party publishing the false posts
    constituting the libel that is the subject of this action with Leuer' s apparent intent
    to harm plaintiff's business endeavors and reputation. Leuer persisted in her
    misconduct despite being given multiple written opportunities to avoid this
    litigation and has not to plaintiff's knowledge ever removed her publications or
    recanted in any forum.
 XLIV.          About this same time, in November 2021, Connor revealed that she was
    behind all of these ongoing efforts against plaintiff, not only through her own
    posts, the content of which was in essence repeated in part in each of her
    associates' s hostile and adverse publications, many of whom plaintiff had never
    encountered or interacted with, but by also revealing she was the influence who
    placed extreme pressure on a number of niche photography peer groups to expel,
    sever all ties with, and otherwise ostracize plaintiff, depriving him of those
    creative resources, networking, educational, and referral opportunities.
  XLV.           Connor's intimidation of others to these ends resulted in one Michael
    Sasser of Sasser Stills Boudoir, to sever ties and distance himself from plaintiff in
    order to alleviate harassment by Connor and her associates over his continued
    business association with plaintiff. This pattern of behavior was adopted and
    pursued by Jeffrey Bennion who has encouraged and incited numerous others to
    join the conspirators' crusade of harassment and libel against plaintiff. This fact is
    heavily documented and boasted about by himself as recent as November 27, 2023
    when plaintiff last checked and actions by those Bennion has incited against
    plaintiff as recent as November 27, 2023 where he boasts at least 88 active
     participants 23 promoting his malicious false publications.



             23 The foremost cause of the revised John Doe & Jane Doe parties count.
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 XLVI.        The result of Connor's bullying and intimidation of supposed peers in
    her industry has been aimed all along at ostracizing plaintiff from the community
    of similar entrepreneurs, badmouthing him to such a degree that no clients would
    likely trust him for their professional services, and deprive plaintiff of income and
    opportunity until he abandoned his enterprises. As Connor's efforts to these ends
    are clearly unlawful and exceed any reason or legal right in addition to violating all
    applicable laws, both civil and criminal, Connor and her co defendants must be
    held accountable for all such losses of opportunity and revenue until such time
    plaintiff has recovered in full from the damages they have caused to plaintiff by
    and thru their conscious and deliberate adverse and unlawful efforts. The further
    his professional reputation is attacked, the greater their recompense to him for
    deprivation of income and opportunities.
XLVII.        False and libelous claims against plaintiff and his business continue to be
    posted & published by defendants on the internet, including on yelp.com,
    bark.com, Google, and websites Google catalogs. The content and circumstances
    of these publications reveal them to be part of Connor's et al., ongoing unlawful
    terror campaign against plaintiff and his lawful business endeavors, initiated under
    the influence of Connor as deliberate acts of fraud and libel still published today
    despite repeated provision to Google and others by plaintiff of sound information
    that these publications violate extant law, are false, and violate multiple terms of
    Google's policies and terms of service.
XL VIII.      Instead of defending or justifying their conduct when publicly
    challenged by plaintiff, each defendant has denied that they have ever interacted
    with plaintiff AEllis, Seaside Boudoir, any other business brand or entity of
    plaintiff's; contrary to the evidence at hand that they had each published false
    unprivileged statements against AEllis & or Seaside Boudoir without ever
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   engaging in any prior business whatsoever with plaintiff or any of his photographic
   brands, despite their false publications denouncing plaintiff.
XLIX.        Published false statements of defendants remain active and visible on the
   internet, with ongoing continued defamation, ostracisation, and marginalization by
   peers of the plaintiff. These represent ongoing & continued damages impacting
   plaintiff & plaintiff's professional efforts & endeavors as reported to plaintiff by
   potential models & clients as well as a marketing firm that approached plaintiff
   seeking to represent his business efforts and produced numerous such published
   false statements plaintiff was unaware remained displayed or published. On
   information and belief, defendant(s) also pursue this entire pattern of behavior
   against other professional peers of the plaintiff in San Diego today.




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                                  REQUEST FOR RELIEF


             Plaintiff now seeks:


      A)     Declaration that defendant's "cancel culture" terror tactics are and were
   in fact prohibited unlawful acts;
       B)    Injunction ordering the permanent and total removal by defendants and
   all related parties from all platforms of all related false statements constituting acts
   of libel or slander against plaintiff related to any statements shown false;
      C)      Permanent injunction enjoining defendants from engaging in any and all
   further acts of harassment against plaintiff, direct or thru any intermediary agency,
   with clear explicit civil penalties for any & all such future violations;
       D)     Compensatory monetary damages to fully compensate AEllis for the
   permanent harm, emotional distress, mental anguish, loss of business, loss of
   income, loss of opportunity, and loss of reputation suffered as a result of the
   defendants' public and false attacks in a minimum amount of twenty five million
   dollars ($25,0000,000);
       E)     Punitive monetary damages in the amount of seventy-five million dollars
   ($75,000,000) for the unlawful egregious misconduct of defendants given the
   permanent and indelible nature of these false statements and the deliberate injury
   caused with malice, to deter defendants and those who follow them from engaging
   in such unconscionable and lawless behavior towards plaintiff or anyone else;
       F)     Costs and expenses related to this action against defendants;
       G)     Any additional relief the Court finds just and proper.


RESPECTFULLY SUBMITTED THIS 21'-'LDA Y OF                   =:fC\\vt'\J , 2023.
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                                             VERIFICATION



                STATE OF CALIFORNIA, COUNTY OF SAN DIEGO

        I, AEllis D'Artisan, hereby declare:

        I am the plaintiff in this action. I have read the foregoing complaint and know

its contents. The matters stated in the foregoing complaint are true of my own

 knowledge and belief and I believe them to be true in their entirety as presented and

otherwise documented. I hereby declare under penalty of perjury under the laws of the

State of California that the foregoing is true and correct.

        Executed on this         2. ~ day of January, 2024 in San Diego County, California.


                                                          AELLIS D'TISAN
                                                          plaintiff, pro se
                                                          ob tenebri x a protonmai l. com



         * ALL Notice(s) to be provided to email address abo ve and in no other fashion until furth er notice is g ive n
                                                                                as postal mail delivery is untime ly.




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